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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 25-CV-21881-ELFENBEIN

   JORDAN LEIGH,

           Plaintiff,

   v.

   UNITED STATES OF AMERICA,

         Defendant.
  ________________________________/

                        ORDER DISMISSING CASE WITHOUT PREJUDICE

          THIS CAUSE is before the Court on a sua sponte review of the record. The Court has

  reviewed pro se Plaintiff Jordan Leigh’s (“Plaintiff”) Verified Complaint for Declaratory and

  Injunctive Relief against the United States of America (the “Complaint”), ECF No. [1], the record,

  and is otherwise fully advised. For the reasons set forth below, the Court sua sponte determines

  that there is no longer an existing case or controversy under Article III of the United States

  Constitution, making the claims in the Complaint moot and depriving this Court of subject-matter

  jurisdiction.

  I.      BACKGROUND

          On April 24, 2025, Plaintiff filed his Complaint asserting that the Internal Revenue Service

  (the “IRS”) wrongfully certified a tax debt against Plaintiff as “seriously delinquent” under 26

  U.S.C. § 7345, leading to the Department of State’s denial of his passport renewal. See ECF No.

  [1] at ¶1. He claims that the certified debt — totaling $666,961 for tax years 2017 and 2021 —

  was the result of IRS bookkeeping and procedural errors, not an actual unpaid tax liability. See id.

  Additionally, Plaintiff alleges that the IRS failed to properly process his timely request for a
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  Collection Due Process hearing and audit reconsideration requests, neglected to respond to

  Freedom of Information Act filings, and refused to provide examination documentation necessary

  to dispute the liability. See id. at ¶¶1, 8–10, 14–22, 28–29. Plaintiff argues that the IRS violated

  its own procedures by certifying the debt while valid administrative proceedings were pending,

  which the Internal Revenue Manual and the statute itself explicitly prohibit. See id. at ¶¶12, 30.

  He emphasizes that the 2017 liability was fully abated after providing corrected tax documents,

  and that the 2021 debt is similarly erroneous and unsupported by any verifiable documentation, as

  no examination report has been provided despite repeated requests. See id. at ¶¶18–26. Plaintiff’s

  alleged injury arises from the denial of his passport, causing irreparable harm, including lost

  business opportunities and economic damage. See id. at ¶13.

         Based on these facts, Plaintiff brings a claim for declaratory and injunctive relief under 26

  U.S.C. § 7345(e). See id. at ¶¶27–31. Specifically, Plaintiff requests the following relief: (1) a

  “[d]eclar[ation] that the § 7345 certification made on September 30, 2024, was erroneous[;]” (2)

  an “[o]rder [commanding] the IRS to issue a CP508R decertification within five (5) days and to

  notify the Department of State immediately[;]” (3) an order “[e]njoin[ing] the IRS from re-

  certifying the debt until it has properly processed his audit reconsideration and issued a corrected

  assessment with adequate notice[;]” and (4) an “[a]ward [of] costs of suit and any other relief the

  Court deems just.” See id at 6.

         By way of background, Defendant’s filings indicated that the IRS’s system would be

  sending notices to the Department of State of reversals of the tax debt certifications for both 2017

  and 2021, see ECF No. [26], so on June 11, 2025, the Court ordered Defendant to file a status

  report “updating the Court on the notices of reversal of the tax debt certifications for both 2017

  and 2021, whether the Department of State has received the notices, and whether this case is moot.”




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  See ECF No. [27]. On June 23, 2025, Defendant filed its status report (the “Status Report”), see

  ECF No. [32], stating that on June 13, 2025, Plaintiff’s 2017 and 2021 tax debt certifications were

  automatically reversed and decertified the same day by the Department of State, resulting in the

  immediate removal of the passport hold. See ECF No. [32]. Defendant’s Status Report attached

  the affidavit of Kevin Stam, a Senior Tax Analyst with the IRS who oversees passport certification

  activities, describing IRS procedures and actions related to Plaintiff’s tax certifications. See ECF

  No. [32-1] at ¶¶1–2. Defendant’s Status Report also attached Plaintiff’s transcripts for tax years

  2017 and 2021. See ECF No. [32-2]. Mr. Stam confirmed that the 2017 and 2021 tax debt

  certifications were systemically reversed on June 13, 2025. See ECF No. [32-1] at ¶¶11–13.

  II.     LEGAL STANDARDS

          A. Subject-Matter Jurisdiction

          “[B]ecause a federal court is powerless to act beyond its statutory grant of subject matter

  jurisdiction, a court must zealously insure that jurisdiction exists over a case, and should itself raise

  the question of subject matter jurisdiction at any point in the litigation where a doubt about

  jurisdiction arises.” Smith v. GTE Corp., 236 F.3d 1292, 1299 (11th Cir. 2001). Federal courts

  are “‘empowered to hear only those cases within the judicial power of the United States as defined

  by Article III of the Constitution,’ and which have been entrusted to them by a jurisdictional grant

  authorized by Congress.” Univ. of S. Ala. v. Am. Tobacco Co., 168 F.3d 405, 409 (11th Cir. 1999)

  (quoting Taylor v. Appleton, 30 F.3d 1365, 1367 (11th Cir. 1994)). Article III of the Constitution

  limits federal courts to adjudicating actual “cases” and “controversies.” See, e.g., Allen v. Wright,

  468 U.S. 737, 750 (1984), abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control

  Components, Inc., 572 U.S. 118 (2014). The case-or-controversy requirement sets fundamental

  limits on federal judicial power. Id.




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          B. Declaratory Judgment Act

          “Echoing the ‘case or controversy’ requirement of Article III, the Declaratory Judgment

  Act ‘provides that a declaratory judgment may only be issued in the case of an actual

  controversy.’” A&M Gerber Chiropractic, 925 F.3d at 1210 (citing Emory v. Peeler, 756 F.2d

  1547, 1551-52 (11th Cir. 1985)); see also Atlanta Gas Light Co. v. Aetna Cas. & Sur. Co., 68 F.3d

  409, 414 (11th Cir. 1995) (“In all cases arising under the Declaratory Judgment Act, . . . the

  threshold question is whether a justiciable controversy exists.”)). “That is, under the facts alleged,

  there must be a substantial continuing controversy between parties having adverse legal interests.”

  Id. (quoting Emory, 756 F.2d at 1552.)          “The controversy between the parties cannot be

  ‘conjectural, hypothetical, or contingent; it must be real and immediate, and create a definite, rather

  than speculative threat of future injury.’” Id. (quoting Emory, 756 F.2d at 1552). “In order to

  demonstrate that there is a case or controversy that satisfies Article III’s standing requirement

  when a plaintiff is seeking declaratory relief—as opposed to seeking damages for past harm—the

  plaintiff must allege facts from which it appears that there is a ‘substantial likelihood that he will

  suffer injury in the future.’” Id. at 1210-11 (quoting Malowney v. Fed. Collection Deposit Grp.,

  193 F.3d 1342, 1346 (11th Cir. 1999)). “Thus, in order for this Court to have jurisdiction to issue

  a declaratory judgment, . . . [the plaintiffs] must assert a reasonable expectation that the injury they

  have suffered will continue or will be repeated in the future.” Id. at 1211 (quoting Malowney, 193

  F.3d at 1347); see also id. at 1348 (“Injury in the past . . . does not support a finding of an Article

  III case or controversy when the only relief sought is a declaratory judgment.”)).

  III.    DISCUSSION

          Plaintiff seeks declaratory and injunctive relief under 26 U.S.C. § 7345(e) to challenge the

  IRS’s certification of a tax debt to the Department of State. Plaintiff’s alleged injury in this case




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  stems entirely from the imposition of a passport restriction — affecting Plaintiff’s international

  travel and employment opportunities — arising from the IRS’s certification of the tax debt. The

  Complaint identifies the passport denial as the direct and primary harm suffered and all requested

  relief, including declaratory and injunctive orders, is tied to redressing that specific harm. For the

  reasons explained below, the Court finds that it lacks subject-matter jurisdiction because there is

  no longer an ongoing case or controversy sufficient to satisfy Article III, making the claims moot.

          For a real case or controversy to exist, “the issues in play at the outset must remain alive.”

  Gagliardi v. TJCV Land Tr., 889 F.3d 728, 733 (11th Cir. 2018). Indeed, the “[m]ootness doctrine

  ensures that a justiciable case or controversy is present ‘at all stages of review.’” Id. (quoting

  Christian Coalition of Fla., Inc. v. United States, 662 F.3d 1182, 1190 (11th Cir. 2011) (internal

  citations omitted)). Even though a case may have once been “cognizable under Article III,” “an

  intervening circumstance [that] deprives the plaintiff of a personal stake in the outcome of the

  lawsuit” may make the case moot. Id. (citing Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66,

  72 (2013)). Under this doctrine, a federal court must be able to provide “redress in some palpable

  way,” that is, “there be something about the case that remains alive, present, real, and immediate.”

  Id. Once the district court cannot “offer any effective relief to the claimant,” the case becomes

  moot because “a federal court has no authority ‘to give opinions upon moot questions or abstract

  propositions, or to declare principles or rules of law which cannot affect the matter in issue in the

  case before it.’” Id. (citing Church of Scientology of Cal. v. United States, 506 U.S. 9, 12 (1992)

  (internal citations omitted)).

          Here, the affidavit the IRS submitted confirms that, as of June 13, 2025, both the 2017 and

  2021 tax debts were systemically decertified, and it notified the Department of State accordingly.

  See ECF No. [32] at ¶¶11, 13. Because the underlying certification has already been rescinded,




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  the “passport hold” has been lifted, and Plaintiff’s alleged injury no longer exists. Without an

  injury, there is no ongoing case or controversy as required by Article III.

         Even if there were lingering effects from the prior certification, Plaintiff cannot satisfy the

  requirement of redressability because this Court is unable to grant any effective relief: the

  decertification has already occurred, and no further order is necessary or capable of changing

  Plaintiff’s current legal status. Because § 7345(e) authorizes relief only for the purpose of

  reviewing the validity of a certification that results in a passport-related restriction and does not

  provide an ongoing remedy for hypothetical or future harms, there is no longer a live controversy

  for the Court to resolve. See Tinnerman v. United States, 2021 WL 4427082 (M.D. Fla. Sept. 27,

  2021), aff’d in part, 2022 WL 3654844 (11th Cir. Aug. 25, 2022) (explaining § 7345(e)’s limited

  waiver of sovereign immunity in a currently operative certification). Once the certification is

  reversed and the passport hold is lifted, the statutory basis for relief is extinguished and the Court

  lacks authority under § 7345(e) to grant any further relief. Accordingly, there is no longer a live

  case or controversy for the Court to adjudicate, making the case moot and depriving the Court of

  subject-matter jurisdiction under Article III.

         Likewise, the Court lacks subject-matter jurisdiction to issue a declaratory judgment, as

  requested, under the Declaratory Judgment Act. To support a declaratory judgment claim, a

  plaintiff must show a “substantial continuing controversy” and a “reasonable expectation that the

  injury they have suffered will continue or will be repeated in the future.” A&M, 925 F.3d at 1211

  (quoting Malowney, 193 F.3d at 1347). “Injury in the past,” without more, “does not support a

  finding of an Article III case or controversy when the only relief sought is a declaratory judgment.”

  Id. at 1348. Indeed, “[t]he mootness problem remains the same” as “[a]n otherwise nonjusticiable

  case cannot be resurrected simply by seeking declaratory relief.” See Gagliardi, 889 F.3d at 735.




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  “As with any federal suit, when a party seeks declaratory relief, the courts are required to examine

  whether there is an ‘actual controversy,’ without which a declaration may not issue.” Id. (finding

  that “the fear that the challenged conduct may recur in some unstated form at an unknown time

  and place” is insufficient and noting that federal courts “do not have the power to ‘advise’ potential

  parties about the lawfulness of potential actions that have not and may never occur.”).

         Because Plaintiff’s challenge is now directed at conduct that has already been reversed and

  a federal court has no authority to opine upon moot questions, there is no continuing controversy

  for the Court to resolve. The suit seeks to adjudicate past administrative decisions that no longer

  have legal effect and therefore fails to present a live controversy under Article III or the

  Declaratory Judgment Act. Accordingly, this Court finds that it lacks subject-matter jurisdiction,

  and dismissal is warranted under Federal Rule of Civil Procedure 12(b)(1).

  IV.    CONCLUSION

         In light of the foregoing, it is hereby ORDERED as follows:

         1. Plaintiff’s Complaint, ECF No. [1], is DISMISSED WITHOUT PREJUDICE for lack of

             subject-matter jurisdiction;

         2. Plaintiff’s Expedited Motion for Preliminary Injunction Requiring Immediate Passport

             Decertification, ECF No. [5], is DENIED AS MOOT;

         3. Plaintiff’s Request for Immediate Decertification, ECF No. [9], is DENIED AS MOOT;

         4. Plaintiff’s Renewed Emergency Motion for Temporary Restraining Order, ECF No. [17], is

             DENIED AS MOOT;

         5. Plaintiff’s Motion to Expedite Ruling or, in the alternative, to set an Immediate Status

             Conference, ECF No. [23], is DENIED AS MOOT;

         6. Plaintiff’s Unopposed Motion for Leave to File Supplemental Exhibit, ECF No. [24], is

             DENIED AS MOOT; and




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         7. Plaintiff’s Motion for Partial Summary Judgment on Liability under 26 U.S.C. § 7345(e) and

             Prevailing Party Status and Notice of Intent to Seek Costs under 26 U.S.C. § 7430, ECF No.

             [28], is DENIED AS MOOT.

         8. The case is CLOSED.          All deadlines are TERMINATED, and all hearings are

             CANCELLED.

         DONE and ORDERED in Chambers in Miami, Florida on July 14, 2025.



                                                _____________________________________
                                                MARTY FULGUEIRA ELFENBEIN
                                                UNITED STATES MAGISTRATE JUDGE

  cc: All counsel of record

  Jordan Leigh
  701 Brickell Ave.,
  Suite 1550
  Miami, FL 33131
  PRO SE




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